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17                                  UNITED STATES DISTRICT COURT

18                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

19                                           OAKLAND DIVISION

20     WHATSAPP LLC, and                 )
       META PLATFORMS, INC.,             )                   Case No. 4:19-cv-07123-PJH
21                                       )
                                         )                   PLAINTIFFS’ REPLY MEMORANDUM
                       Plaintiffs,       )                   OF POINTS AND AUTHORITIES IN
22
                                         )                   SUPPORT OF MOTION FOR
23            v.                         )                   SANCTIONS
                                         )
24     NSO GROUP TECHNOLOGIES LIMITED )                      DISCOVERY MATTER
       and Q CYBER TECHNOLOGIES LIMITED, )
25                                       )                   Date: November 7, 2024
                                         )                   Time: 1:30 PM
                       Defendants.       )                   Courtroom 3
26
                                         )                   Before the Honorable Phyllis J. Hamilton
27

28


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 1          This Court has repeatedly ordered NSO to comply with its discovery obligations “despite the

 2   DECL and other Israeli restrictions.” Dkt. No. 233 at 10. In its November 2023 Order, the Court

 3   concluded that Israeli law did not excuse NSO from producing specific and important discovery. Id.

 4   at 8–11. The Court’s February 2024 Order required NSO to produce documents “sufficient to show

 5   the full functionality of all relevant spyware.” Dkt. No. 292 at 3–5. Most recently, the Court’s

 6   August 2024 Order reiterated that NSO had to produce “information showing the full picture of how

 7   Pegasus functions—which squarely includes Pegasus computer code.” Dkt. No. 358 at 6. Plaintiffs’

 8   motion for sanctions (the “Motion”) shows that NSO refused to comply with this Court’s Orders.

 9   NSO’s attempts to justify its conduct and to avoid sanctions should be rejected.

10          NSO’s opposition (the “Opposition”) confirms its indifference to the Court’s Orders. Alt-

11   hough the Court told the parties in early November 2023 that “[d]iscovery for all purposes is now

12   open,” Dkt. No. 256 at 67:16, NSO apparently did not begin searching for responsive documents

13   until after this Court issued its February 23, 2024 Order. NSO now admits that it (i)

14                                           ; (ii)

15                                                                                                       ; (iii)

16   used deficient search terms of its own design, which it refused to disclose to Plaintiffs, then decided

17   that none of the thousands of documents hitting on those terms were responsive; (iv) refused to dis-

18   close the price list for its spyware; and (v) refused to answer deposition questions, despite having no

19   basis for doing so under Rule 30. For this conduct, sanctions are appropriate.

20          To justify its conduct, NSO argues that the requirements of Israeli law excuse its violation of

21   the Court’s Orders, and preclude sanctions. The Court considered and rejected this very argument in

22   the November 2023, February 2024, and August 2024 Orders. See Dkt. No. 233 at 8-11; Dkt. No.

23   292 at 3–5; Dkt. No. 358 at 4–7. NSO deliberately violated those Orders.

24          NSO’s violation of Court Orders has denied Plaintiffs access to relevant discovery, resulting

25   in unfair prejudice. NSO’s opposition to Plaintiffs’ motion for summary judgment underscores that

26   prejudice, and the need for sanctions. NSO seeks to rely on “lack of evidence” arguments and self-

27   serving declarations on topics it has deprived Plaintiffs of the ability to test through discovery. While

28   Plaintiffs believe even the limited record suffices to enter judgment for Plaintiffs on all claims, if the


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 1   case cannot be resolved as a matter of law in Plaintiffs’ favor, NSO’s deliberate violations of the

 2   Court’s Orders warrant terminating sanctions.

 3                                                ARGUMENT

 4       I.    NSO Refused to Comply with the Court’s Discovery Orders

 5             NSO violated the Court’s Orders by refusing to produce code showing the full functionality

 6   of its spyware, as well as other documents and communications that the Court ordered NSO to pro-

 7   duce. See Dkt. No. 405-2 at 8–14. NSO’s witnesses also refused to answer deposition questions,

 8   often after instruction by counsel, despite lacking any valid basis to do so. See id. at 14–15. Pur-

 9   porting to explain this misconduct, NSO claims that it tried to comply with the Court’s Orders, but

10   Israeli law frustrated it. See Dkt. No. 429-2 at 8–10. NSO’s Opposition shows that claim to be false.

11   NSO does not claim that Israel blocked it from producing anything it tried to produce. For example,

12   NSO does not claim it made any attempt to produce its full Pegasus code. Similarly, NSO

13                                         (only after this Court’s August 1, 2024 Order) because NSO

14

15                           The Opposition at least strongly suggests that NSO made almost no effort to

16   comply with the Court’s Orders. 1

17            A.   NSO Did Not Produce Code for the Full Functionality of the Relevant Spyware

18             NSO’s admission that it only

19                                    —confirms its violation of this Court’s Orders. First, NSO’s

20                                                   ignores this Court’s Richmark rulings. Second, NSO

21   has admitted that

22                 Dkt. No. 358 at 6. Third, NSO’s failure to produce sufficient code independently violates

23   the Court’s Orders mandating NSO’s compliance with Plaintiffs’ Requests for Production (“RFPs”).

24
     1
       NSO starts its brief by arguing that Plaintiffs failed to comply with Civil Local Rule 7-2, including
25   by not counting the 10-line notice of motion within the 25-page limit. NSO identifies no prejudice
26   from Plaintiffs’ pagination, nor does it cite a single case where a motion has been struck for this
     reason. Courts in this District routinely consider—and grant—motions with separately paginated
27   notices. See, e.g., Zamora v. Wendy’s Int’l, LLC, 2020 WL 3469331, at *1 n.1 (N.D. Cal. June 25,
     2020); Toro v. Centene Corp., 2020 WL 1643861, at *1 n.1 (N.D. Cal. Apr. 2, 2020); LegalForce
28   RAPC Worldwide P.C. v. GLOTRADE, 2019 WL 5423463, at *1 n.1 (N.D. Cal. Oct. 23, 2019).
                                                         2
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 1                 1. Failure to Produce Code Usable in This Litigation Violates This Court’s Orders

 2           NSO violated this Court’s Orders by failing to make its code available for use in this litigation.

 3   Its belated

 4                      —ignores the Richmark dispute that the Court already resolved. In March 2023,

 5   NSO moved for a “protective order sparing Defendants from violating Israeli law by responding to

 6   Plaintiffs’ RFPs.” Dkt. No. 179-2 at 9. The Court denied NSO’s motion, and ordered it to comply

 7   with “sufficiently important and specific” discovery requests “despite the DECL and other Israeli

 8   restrictions.” Dkt. No. 233 at 10. The Court subsequently ruled that “in spite of the export controls

 9   and other restrictions, [] production of ‘information sufficient to show the full functionality of all

10   relevant spyware’ was ‘not excused’ because ‘that information is sufficiently important and specific’

11   to require production under Richmark.” Dkt. No. 358 at 6 (quoting Dkt. No. 292 at 5).

12           The plain language of the Court’s Order required NSO to produce code in this litigation “in

13   spite of” DECL or other restrictions. NSO now argues that

14                                 Dkt. No. 429-2 at 9. However, that “production” does not make code

15   available in this litigation. If NSO believed that                                                  , it is

16   unclear why it argued that it should not be required                                            Dkt. No.

17   184-2 at 7, and then sought a six-month extension                  , see Dkt. No. 264-2 at 1–4.

18           NSO also faults Plaintiffs for failing to obtain                     . Dkt. No. 429-2 at 9–10.

19   NSO has the responsibility “to secure release or waiver from a prohibition against disclosure” when

20   a foreign law obstacle exists. Restatement (Third) of Foreign Relations Law of the United States

21   § 442 cmt. h (Am. L. Inst. 1987). NSO failed to do so, and refused to produce code that can be used
                                                                                                               2
22   in this litigation. Indeed, NSO’s counsel has admitted

23           NSO asserts that

24             Dkt. No. 429-2 at 10, but that proposal ignores reality. NSO suggests that Plaintiffs should

25   2
       There is no equivalence between NSO’s failure                            and Plaintiffs’ disclaimer
26   of any liability for determining which of its documents produced to NSO’s U.S. counsel in this U.S.
     litigation can be shared with NSO under the U.S. Department of Commerce’s sanctions against NSO.
27   See Dkt. No. 429-2 at 10 & n.10. Those sanctions are unique to NSO because the Commerce De-
     partment concluded NSO has been engaged “in activities contrary to the national security or foreign
28   policy interests of the United States.” 86 Fed. Reg. 60759 (Nov. 4, 2021).
                                                         3
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 1

 2                                                                                                    , and

 3   “testify about it.” Id. Yet NSO’s head of compliance opines that

 4                                                        Dkt. No. 429-19 ¶ 7, and NSO’s witnesses refused

 5   to testify on that basis, see Dkt. No. 429-2 at 21 (acknowledging that

 6                                                                              ).

 7          NSO’s remaining arguments rely on technicalities that do not excuse its conduct. NSO first

 8   argues that neither Plaintiffs’ RFPs nor the Court’s Orders specified a location for production. Id. at

 9   9. Yet Plaintiffs sought, and the Court ordered, NSO to produce code “despite the DECL and other

10   Israeli restrictions.” Dkt. No. 233 at 10. NSO’s “production” is defective not only because

11                  , but also because it cannot be used in this litigation in the United States. NSO sepa-

12   rately concedes that Rule 34 forbids making code available for inspection only in a distant foreign

13   location                  . See Dkt. No. 405-2 at 11–12 (citing cases). NSO claims that this rule has

14   no application here, as                                                                               .

15   See Dkt. No. 429-2 at 11. That response ignores the central point: its code can be reviewed only

16

17           . In the sole case that NSO relies upon, it was “not clear that the location where the accused

18   products are made available for review has any particular bearing on Defendant’s ability to accom-

19   plish its goal of inspecting the accused products.” Seoul Semiconductor Co. v. FEIT Elec. Co., 2024

20   WL 1136525, at *6 (C.D. Cal. Jan. 9, 2024). By contrast here, Plaintiffs cannot

21        , nor present the fruits of that review in this case.

22              2. The                                  Does Not Fully Show How Pegasus Functioned

23          Even if NSO

24                             , that alone would not comply with this Court’s Orders. Dkt. No. 358 at 6.

25   Although Plaintiffs’ U.S. counsel cannot review

26

27        NSO admitted

28                                                                 Dkt. No. 208 at 4 (emphasis added). Mr.

                                                         4
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 1   Gazneli

 2                                                                               See Dkt. No. 429-4, Ex. 2 at

 3   287:11–12. Mr. Gazneli also

 4

 5                                                            See Dkt. No. 405-4, Ex. N at 322:10–21

 6                                                                               ); id. at 322:22–323:1

 7                                                                                              ). Even Mr.

 8   Gazneli’s declaration submitted with the Opposition

 9                                                                    Dkt. No. 429-18 ¶ 7.

10          NSO’s claim that it was not required to produce any code on “devices other than the AWS

11   server,” Dkt. No. 429-2 at 4, cannot be reconciled with the Court’s Orders. In February 2024, the

12   Court ordered NSO to produce documents responsive to 12 of Plaintiffs’ RFPs, many of which called

13   for code. Dkt. No. 292 at 3; see also Dkt. No. 429-3 at 8–9 (listing RFPs). If there was any ambiguity

14   about the Court’s February 2024 Order—and there was none—the Court removed it in the August

15   2024 Order, stating that “information showing the full picture of how Pegasus functions—which

16   squarely includes Pegasus code—is discoverable under Richmark despite the various restrictions that

17   have been cited.” Dkt. No. 358 at 6. Accordingly, the Court “clarifie[d] that its previous order, dated

18   February 23, 2024, should be read to encompass Pegasus code, as well as code that shows the full

19   functionality of any other ‘relevant spyware,’” and additionally granted Plaintiffs’ motion to compel

20   production of the AWS Server “[t]o the extent that information . . . reflects such computer code.” Id.

21              3. NSO Did Not Produce Code Responsive to RFPs No. 14 and 16

22          By refusing to produce code showing the full functionality of the Relevant Spyware, NSO

23   also violated its obligations under Plaintiffs’ RFPs Nos. 14 and 16. NSO agreed to produce docu-

24   ments responsive to those RFPs, and the Court’s February 2024 Order mandated that these “docu-

25   ments must indeed be produced.” Dkt. No. 292 at 3. RFP No. 14 requires NSO to produce documents

26   “sufficient to show the processes, methods, and technology used to install the Relevant Spyware on

27   the mobile phones and devices of target users, including but not limited to computer code, commands,

28   data, or payloads transmitted or received during the installation of the Relevant Spyware.” Dkt. No.

                                                         5
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 1   429-3 at 8. Despite NSO’s pledge to comply, and this Court’s Order mandating compliance, it did

 2   not produce any code showing, e.g., how the Relevant Spyware was installed on mobile devices.

 3   RFP No. 16 requires NSO to produce documents “sufficient to show the technologies used in the

 4   Relevant Spyware to communicate with WhatsApp, including WhatsApp servers, endpoints, com-

 5   puters, and computer networks, other than the official WhatsApp application.” Id. Though NSO

 6   opposes summary judgment based on a declaration that NSO

 7

 8                                        Dkt. No. 419-4 ¶ 4, NSO never produced any information showing

 9   that                            . The record refutes NSO’s self-serving declaration, but in any event

10   NSO’s contention confirms its failure to produce what RFPs Nos. 14 and 16 require.

11          B.      NSO Refused to Produce Communications That the Court Ordered Produced

12               NSO not only failed to produce sufficient code in response to RFP Nos. 14 and 16, but also

13   failed to produce all internal communications concerning the identification of WhatsApp application

14   vulnerabilities incorporated into the Relevant Spyware (RFP No. 5), and all communications with

15   Westbridge related to WhatsApp (RFP No. 28). Dkt. No. 405-2 at 12–13; see Dkt. No. 292 at 3

16   (ordering NSO to produce agreed-upon documents). Indeed, NSO admits that it did not produce any

17   communications in response to these RFPs before the close of fact discovery. See Dkt. No. 429-2 at

18   16.

19               RFP No. 5. RFP No. 5 calls for NSO to produce “all documents and communications con-

20   cerning the identification of WhatsApp application vulnerabilities incorporated into the Relevant

21   Spyware,” as limited by search terms and custodians. Dkt. No. 235-4, Ex. P at 4. NSO claims that

22   it lacks any responsive documents. Dkt. No. 429-2 at 18.

23               NSO’s failure to locate responsive documents reflects the deficiency of its unilateral search

24   terms, not the absence of responsive records. Mr. Gazneli

25                          , see Dkt. No. 405-2 at 13, and that

26                                                      Dkt. No. 399-4, Ex. 6 at 300:15. Yet NSO did not

27   search for documents dated before April 2018. Dkt. No. 429-3 ¶ 25. Moreover, NSO limited its

28   search by applying search terms of its own design that it never disclosed until its Opposition, and that

                                                           6
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 1   are facially deficient. For example, NSO failed to include

 2                                                                                   , and used qualifiers to

 3   limit hits on

 4                                            . See Dkt. No. 429-18 ¶ 25. NSO’s deficient search terms

 5   found 6,437 hits, yet NSO claims none were responsive despite the terms they included. Id. ¶ 26.

 6           NSO further claims that it lacks responsive communications to RFP No. 5 because NSO “like

 7   other companies in their industry,

 8   Dkt. No. 429-2 at 18. NSO’s documents belie that claim. For example, Exhibit 36 to the Craig

 9   Declaration discusses

10                                                                               Dkt. No. 429-9, Ex. 36 at 1.

11   The document then discusses how

12            That is squarely responsive to RFP No. 5, and exactly the kind of document that NSO now

13   says it avoided creating. What’s more, even if NSO                                                   , it

14   beggars belief to suggest that NSO never communicated about them. Therefore, the Court should

15   not credit NSO’s self-serving representation that no communications responsive to RFP No. 5 exist,

16   and should find that NSO violated the Court’s Orders requiring it produce such communications. See

17   Strategic Partners, Inc. v. FIGS, Inc., 2021 WL 4813646, at *11 (C.D. Cal. Aug. 12, 2021) (refusing

18   to credit party’s representation that it had no responsive documents in light of convincing contrary

19   evidence).

20           RFP No. 28. RFP No. 28 includes “all communications with Westbridge that relate to Peg-

21   asus’ interactions with or use of WhatsApp servers to gain access to target devices that Defendants

22   are able to locate after a reasonable and proportionate search.” Dkt. No. 235-4, Ex. P at 8.

23           NSO admits that it did not produce documents responsive to RFP No. 28 by the close of fact

24   discovery. Dkt. No. 429-2 at 19. This failure made it impossible for Plaintiffs to use any such doc-

25   uments in the depositions of NSO or Westbridge employees, or in their summary judgment motion.

26   NSO produced responsive documents on October 7, 2024, well after the close of fact discovery, and

27   weeks after Plaintiffs deposed NSO and Westbridge employees. Dkt. No. 429-3 ¶ 19. In addition,

28   NSO also used inadequate search terms in searching for documents responsive to RFP No. 28. For

                                                         7
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 1   example, NSO did not search for

 2                 NSO’s belated production of communications with Westbridge. See id. Further, with-

 3   out the ability to question witnesses about this document production, Plaintiffs were unable to further

 4   test NSO’s compliance. In any case, “[b]elated compliance with discovery orders does not preclude

 5   the imposition of sanctions.” N. Am. Watch Corp. v. Princess Ermine Jewels, 786 F.2d 1447, 1451

 6   (9th Cir. 1986) (citing Nat’l Hockey League v. Metro. Hockey Club, Inc., 427 U.S. 639, 643 (1976)).

 7        C.    NSO Refused to Produce Financial Documents That the Court Ordered Produced

 8          NSO does not contest that it maintains a “price list” and refused to produce it. Dkt. No. 429-

 9   2 at 20–21. Instead, NSO claims that the Court never ordered production of financial information,

10   id. at 20—a claim that ignores NSO’s own representations to the Court. When it initially moved to

11   avoid all discovery obligations in March 2023, NSO stated that it “would not otherwise oppose pro-

12   ducing” financial documents,                                       . Dkt. No. 176-2 at 8. At that time,

13   NSO represented that it was

14                                                                  Id. at 8 n.1; accord Dkt. No. 184-2 at 2.

15   NSO later argued that “the Court need not compel the production of documents

16                                      Dkt. No. 249-2 at 5. The Court ultimately ordered NSO to produce

17   documents that it “already conceded” are “sufficiently important and specific under Richmark,” Dkt.

18   No. 292 at 3, which includes financial documents                                    .

19          The few financial documents that NSO has produced provide no substitute for the price list.

20   Dkt. No. 405-2 at 13–14. NSO relies on

21

22

23

24
                                       3
25                                         That is no substitute for the underlying documents, which NSO

26   failed to produce, in violation of the Court’s Orders.

27
     3
       NSO’s request to delay disputes related to its production of the price list, Dkt. No. 429-2 at 20–21,
28   ignores the Local Rules on timing of discovery-related motions. See N.D. Cal. Civ. L.R. 37-3.
                                                         8
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 1        D.    NSO Refused to Answer Deposition Questions

 2          NSO’s Opposition does not identify any permissible basis for its counsel to instruct its wit-

 3   nesses not to answer deposition questions, or for its witnesses to refuse to answer questions on their

 4   own accord. NSO disregards this Court’s Richmark analysis by claiming that

 5                    outweigh the discovery obligations this Court imposed. Dkt. No. 429-2 at 22. The

 6   Court has already rejected this exact proposition, and ordered NSO to participate in discovery despite

 7   Israel’s “demonstrated interest in limiting discovery.” Dkt. No. 233 at 10. The Court should find

 8   that the NSO’s misconduct violates its Orders, and warrants sanctions against NSO. 4

 9          Contrary to NSO’s argument, none of the Court’s Orders constitute a “limitation ordered by

10   the court” that would allow NSO’s counsel to instruct its witnesses not to answer deposition ques-

11   tions. Fed. R. Civ. P. 30(c)(2); see Dkt. No. 405-2 at 15. An instruction to “enforce a limitation

12   ordered by the court” under Rule 30(c)(2) applies “to any limitation imposed by the court in connec-

13   tion with a deposition.” Fed. R. Civ. P. 30, Advisory Committee’s Notes to 2000 Amendment (em-

14   phasis added). As NSO admits, nothing in the Court’s Orders said anything about limiting deposi-

15   tions. See Dkt. No. 429-2 at 3. Moreover, the Court cabined NSO’s production of documents to

16   April 2018 to May 2020 because of the potential burden of producing documents, see Dkt. No. 292

17   at 4—a concern that does not apply to answering deposition questions. The cases that Plaintiffs cite

18   in their Motion establish that court rulings setting the bounds of document discovery are not court-

19   ordered limitations under Rule 30, and do not support counsel instructing witnesses not to answer

20   deposition questions. See Dkt. No. 405-2 at 15 (citing cases). 5

21   4
       NSO’s suggestion that its violations of Rule 30 did not violate any Court Order ignore its obligation
22   to participate in deposition discovery under, for example, the Case Management and Pretrial Order.
     See Dkt. No. 168 at 1 (providing for “[d]epositions” without any scope limitations). In addition, Rule
23   30(d)(2) independently authorizes the Court to “impose an appropriate sanction—including the rea-
     sonable expenses and attorney’s fees incurred by any party—on a person who impedes, delays, or
24   frustrates the fair examination of the deponent.” Fed. R. Civ. P. 30(d)(2). The Court also retains the
25   inherent authority to sanction abusive litigation practices, including a party’s refusal to answer dep-
     osition questions. See Leon v. IDX Sys. Corp., 464 F.3d 951, 958 (9th Cir. 2006).
26   5
       Unlike objecting counsel in Hernandez v. Lynch, NSO’s instructions were not the result of a “good
27   faith misinterpretation.” Dkt. No. 429-2 at 23 (quoting 2019 WL 6998774, at *4 (C.D. Cal. June 18,
     2019)).
28                                                                     See Dkt. No. 429-19 ¶¶ 6–7.
                                                         9
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 1           Unable to point to any “limitation imposed by the Court,” NSO advances a new argument:

 2   that it unilaterally cabined its witnesses’ deposition testimony to avoid “serious harm.” Dkt. No.

 3   429-2 at 22. The phrase “serious harm” does not appear in Rule 30, and the case that introduced this

 4   language limited the permissible bases for an instruction not to answer to those found in Rule

 5   30(d)(3). See Detoy v. City & Cnty. of S.F. 196 F.R.D. 362, 366 (N.D. Cal. 2000) (“A party may

 6   instruct a deponent not to answer only when necessary to preserve a privilege, to enforce a limitation

 7   on evidence directed by the court, or to present a motion under paragraph (3) (that the deposition is

 8   being conducted in bad faith or to annoy, embarrass or oppress the deponent or party.)”).

 9           Without any valid defense under U.S. law for its misconduct, NSO again tries to relitigate the

10   Court’s Richmark rulings. NSO first claims that its witnesses

11                                                                             See Dkt. No. 429-2 at 21–22.

12   NSO next recounts the harms that may occur if

13               See id. at 22. The Court has already rejected these arguments, and ordered NSO to comply

14   with its discovery obligations in this lawsuit, notwithstanding any Israeli law restrictions. If NSO

15   claims that it could not comply with the Court’s Orders because of its Israeli law obligations, that

16   does not cure NSO’s noncompliance, but factors into the proper sanction, as discussed below.

17    II.    NSO’s Refusal to Comply with the Court’s Orders Requires Terminating Sanctions

18           NSO’s arguments that it should not be sanctioned for its violations also lack merit. First,

19   NSO has not made “an affirmative showing of its good faith in seeking permission to disclose” in-

20   formation barred by Israeli law. Richmark Corp. v. Timber Falling Consultants, 959 F.2d 1468, 1479

21   (9th Cir. 1992). Second, NSO’s contention that its violations of the Court’s Orders did not prejudice

22   Plaintiffs not only disregards binding precedent holding that failing to produce discovery is inherently

23   prejudicial, but also fails on its own terms. Third, NSO incorrectly opposes evidentiary sanctions as

24   “counterfactual,” Dkt. No. 429-2 at 24, ignoring the thrust of Plaintiffs’ argument: that evidentiary

25   sanctions are warranted in the very areas where NSO prevented full development of the record.

26          A.     NSO Failed to Show A Good Faith Attempt to Comply with the Court’s Orders

27           NSO’s efforts to comply with its Israeli obligations do not “affect the fact of noncompliance

28   and are relevant only to the path which the District Court might follow in dealing with [NSO’s]

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 1   failure to comply.” Societe Internationale Pour Participations Industrielles Et Commerciales, S. A.

 2   v. Rogers, 357 U.S. 197, 208 (1958); see also Dkt. No. 405-2 at 16 (citing Restatement (Third) of

 3   Foreign Relations Law of the United States § 442(1)(b) (Am. L. Inst. 1987)). NSO can only avoid

 4   sanctions if it can “make an affirmative showing of its good faith in seeking permission to disclose

 5   the information.” Richmark, 959 F.2d at 1479. NSO fails to make such a showing here.

 6             First, NSO never engaged with Plaintiffs (or the Court) about its deficient plans for respond-

 7   ing to the Court’s Orders, and produced almost no information about

 8                                                                         Even in Richmark—where the Ninth

 9   Circuit upheld the imposition of sanctions—the foreign defendant provided the Court with the request

10   it sent to the foreign government, as well as the foreign government’s response. Id. Here, NSO

11   refuses                                                                     See Dkt. No. 429-19 ¶ 8. In

12   fact, NSO confirms

13                                                        . See id. ¶ 9.

14             Second, NSO’s representations                                                      are contra-

15   dictory. In the Opposition, NSO admits that

16

17                                                                                           Dkt. No. 429-2

18   at 7.6 Elsewhere, NSO denied

19

20

21                                                                                                  Dkt. No.

22   405-4, Ex. A at 5–7. These representations are impossible to reconcile. NSO’s contradictions un-

23   dermine any inference of good faith, especially absent any meaningful documentary record.

24             Third, NSO identifies no inaccuracies in the public reporting describing NSO’s efforts to

25   avoid discovery. See Dkt. No. 405-2 at 4, 4 n.3. Though NSO calls these reports “error-riddled” and

26   based on unverified information, Dkt. No. 429-2 at 7, 7 n.7, it fails to address the reporting that its

27
     6
      The Guardian, whose reporting NSO admits is “not inconsistent” with NSO’s conduct, Dkt. No.
28   429-2 at 7, reported that the initial meeting took place in early June 2020. See Dkt. No. 405-2 at 4.
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 1   U.S. counsel at King & Spalding contacted U.S. counsel for the Israeli government asking it to “come

 2   to the rescue” to prevent discovery. This reporting further undermines any suggestion that NSO can

 3   show good faith in seeking permission to comply with this Court’s Orders.

 4        B.      NSO’s Israeli Law Obligations Do Not Provide a Basis to Avoid Sanctions

 5             NSO separately argues that it should not face sanctions because complying with the Court’s

 6   orders would violate Israeli law. See, e.g., id. at 11. The Court has already thrice rejected NSO’s

 7   argument that its Israeli law obligations excuse it from discovery. See Dkt. No. 233 at 8; Dkt. No.

 8   292 at 3–5; Dkt. No. 358 at 4–7. NSO does not and cannot dispute that courts can impose sanctions

 9   on parties that violate U.S. discovery obligations in light of competing foreign-law demands. See In

10   re Sealed Case, 932 F.3d 915, 940 (D.C. Cir. 2019) (affirming contempt orders against banks who

11   claimed Chinese law prevented them from producing documents, and failed to demonstrate good

12   faith); Linde v. Arab Bank, PLC, 269 F.R.D. 186, 197 (E.D.N.Y. 2010) (“[W]here defendant has

13   articulated no reason for its recalcitrance other than the [foreign law] grounds already rejected, sig-

14   nificant sanctions are both ‘just’ and ‘commensurate’ with defendant’s non-compliance.”).

15             NSO also argues that compliance with this Court’s Orders would be impossible. See Dkt.

16   No. 429-2 at 11. NSO’s fear of violating another country’s laws does not amount to impossibility.

17   See Jorgensen v. Cassiday, 320 F.3d 906, 912 (9th Cir. 2003) (upholding sanctions against party that

18   failed to produce documents purportedly held by a foreign court, as defendant “did not demonstrate

19   that production from that court would be impossible”). None of the cases NSO cites, see Dkt. No.

20   429-2 at 11, involve a conflict of law. See, e.g., United States v. Rylander, 460 U.S. 752, 757 (1983)

21   (allowing party to raise impossibility defense “because he lacked possession or control”).

22        C.      NSO’s Violations Prejudiced Plaintiffs, and Terminating Sanctions Are Warranted

23             Terminating sanctions are appropriate. See Dkt. No. 405-2 at 18–23. Of the five applicable

24   factors, NSO offers no response to four. NSO contests only the fifth factor, and does so only by

25   asserting that Plaintiffs suffered no prejudice. Dkt. No. 429-2 at 11. NSO’s argument lacks merit.

26             First, it is well-established in the Ninth Circuit that “[f]ailure to produce documents as or-

27   dered . . . is considered sufficient prejudice” to warrant terminating sanctions. Adriana Int’l Corp. v.

28   Thoeren, 913 F.2d 1406, 1412 (9th Cir. 1990); see also Transamerica Life Ins. v. Arutyunyan, 93

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 1   F.4th 1136, 1147 (9th Cir. 2024) (“failure to comply with an order to produce specific discovery

 2   materials creates a sufficient risk of prejudice”).

 3          Second, the limited discovery that NSO provided about its spyware does not excuse NSO’s

 4   failure to provide code, or eliminate the unfair prejudice to Plaintiffs. As Mr. Gazneli

 5

 6

 7             . Moreover, NSO unfairly seeks to profit from its violations. For example, NSO claims

 8                                                                                         , and whether NSO

 9

10                                    . See generally Dkt. No. 396-2; Dkt. No. 419-2; Dkt. No. 433-2.

11   NSO’s code (and communications) would give Plaintiffs further insight into these areas. NSO’s

12   refusal to produce that evidence, in violation of the Court’s Orders, is unfair and prejudicial.

13          Third,                                                does not eliminate the prejudice from NSO’s

14   refusal to produce all the code that the Court ordered. As noted above, NSO has admitted that

15                                                                                                    See supra

16   Argument § I.A. In addition, there is no evidence that what NSO purported to

17

18

19

20                                                                                As previously noted,

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22                                                                        Id. at 4 n.1. Further, Plaintiffs

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27                                                     See Dkt. No. 382-2 at 2–3.

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                                                           13
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 1          Fourth, NSO’s witnesses’ refusal to answer deposition questions, and NSO’s counsel’s in-

 2   structions not to answer, similarly deprived Plaintiffs of crucial information. For instance, NSO’s

 3   counsel instructed Mr. Gazneli not to answer questions about

 4

 5

 6

 7

 8                                                           See id. at 17–18. NSO contends that there is no

 9   prejudice because Mr. Gazneli                                                                     , but

10   NSO ignores that Mr. Gazneli

11                              Dkt. No. 399-4, Ex. 6 at 149:1–10. More broadly, Plaintiffs cannot know

12   (and cannot be expected to know) “how an answer . . . would have been relevant,” Dkt. No. 429-2 at

13   21, because of NSO’s refusal to answer questions. See Hynix Semiconductor, Inc. v. Rambus Inc.,

14   591 F. Supp. 2d 1038, 1060 (N.D. Cal. 2006), rev’d on other grounds, 645 F.3d 1336 (Fed. Cir. 2011)

15   (party that failed to provide evidence “is in a much better position” to show what was not produced).

16   The Court should find that NSO’s violations of the Court’s Orders prejudiced Plaintiffs, and that

17   terminating sanctions are warranted.

18   III.   Alternatively, the Court Should at Least Order Evidentiary Sanctions

19          If the Court does not find terminating sanctions to be warranted, it should enter evidentiary

20   sanctions to address NSO’s violations. Dkt. No. 405-2 at 23–25. As set out in the Motion, eviden-

21   tiary sanctions are appropriate for “establishing facts that are being improperly hidden by the party

22   resisting discovery.” Gibson v. Chrysler Corp., 261 F.3d 927, 948 (9th Cir. 2001); see also Linde,

23   269 F.R.D. at 203 (imposing evidentiary sanctions based on “the high likelihood that the withheld

24   documents” confirm plaintiffs’ allegations).

25          Ignoring this case law, NSO objects that directed findings on issues it has obscured would

26   contradict skewed conclusions that NSO seeks to draw from Plaintiffs’ own documents. For instance,

27   NSO argues that the Court should not find that NSO targeted Plaintiffs’ California-based servers, or

28   that NSO knowingly stored Pegasus code on California-based servers,

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 1                                                                      See Dkt. No. 429-2 at 24–25. That

 2   misses the point. NSO has refused to produce discovery that the Court ordered, which would likely

 3   have provided evidence on these issues. NSO should not be permitted to advance its own inferences

 4   from an evidentiary record that is incomplete because of NSO’s misconduct. Similarly, NSO argues

 5   that the Court should allow NSO to argue

 6                                                                             . See id. at 25. Regardless of

 7   what

 8

 9                                   . Only NSO has that evidence, and NSO has refused to produce it.

10   Moreover, NSO’s arguments ignore that the entire purpose of evidentiary sanctions is to “ensure that

11   a party will not be able to profit from its own failure to comply.” United States v. Sumitomo Marine

12   & Fire Ins., 617 F.2d 1365, 1369 (9th Cir. 1980) (quoting Cine Forty-Second St. Theatre Corp. v.

13   Allied Artists Pictures Corp., 602 F.2d 1062, 1066 (2d Cir. 1979)). Having refused to comply with

14   this Court’s Orders and thereby stymied Plaintiffs’ ability to develop certain facts, NSO should not

15   be permitted to argue that evidentiary sanctions would be “counterfactual.” Dkt. No. 429-2 at 24.

16                                              CONCLUSION

17          For the reasons stated in the Motion and above, the Court should find that NSO willfully

18   violated this Court’s Orders, and that terminating sanctions are warranted. The Court should enter

19   default judgment against NSO, or order other appropriate relief.

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 1    Dated: October 23, 2024                        Respectfully submitted,

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